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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE: NONJUDICIAL FORFEITURE ) cay eye
PROCEEDING ) MBD No. | (umn GS | | ‘ 53 ‘
) dD AC
ORDER EXTENDING THE TIME TO FILE ;
CIVIL FORFEITURE COMPLAINT AND/OR
OBTAIN INDICTMENT ALLEGING FORFEITURE
WHEREAS, Igor Kesaev (the “Claimant”) has filed a claim to the following property in a

nonjudicial civil forfeiture proceeding with the United States Customs and Border Protection

(“CBP”):

a. $49,205 in United States currency, seized from Igor Kesaev on May 29, 2016, at
Boston Logan International Airport; and

b. 14,575 in Euo Dollars (converted to $15,384.35 in United States currency), seized
from Igor Kesaev on May 29, 2016, at Boston Logan International Airport

(collectively, the “Currency”);

WHEREAS, the United States and the Claimant (collectively, the ‘‘Parties”) have agreed,
as provided in 18 U.S.C. § 983(A), to extend the time in which the United States is required to
file a complaint for forfeiture against the Currency and/or to obtain an indictment alleging that
the Currency is subject to forfeiture;

WHEREAS, the Parties having jointly moved the Court to extend the time in which the
United States is required to file a complaint for forfeiture against the Currency and/or to obtain
an indictment, alleging that the Currency is subject to forfeiture;

WHEREAS, the United States having represented to the Court that the CBP sent notice

of its intent to forfeit the Currency as required by 18 U.S.C. § 983(a)(1)(A), that no other person

has filed a claim to the Currency as required by law in the nonjudicial civil forfeiture
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proceedings, and that the time within which to file such claims has expired; and

WHEREAS, the Court is authorized by 18 U.S.C. § 983(a)(3)(A), to extend the time in
which the United States is required to file a complaint for forfeiture against the Currency and/or
to obtain an indictment alleging that the Currency is subject to forfeiture based upon agreement

of the Parties;

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il “

ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:
Pursuant to 18 U.S.C. § 983(A)-(C), that the date by which the United States is required
to file a complaint for forfeiture against the Currency and/or to obtain an indictment alleging that

the Currency is subject to forfeiture is extended to December 16, 2016.

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United States District Judge

Dated: Colpo, (4 | wb
